 

 

SERVICE AFFIDAVIT

 

UNITED STATES DISTRICT COURT FOR THE EASTERN CASE NO: 20CV3599(BMC)
DISTRICT OF NEW YORK .
STATE OF NEW YORK COURT DATE:

County of , COURT TIME:

PLAINTIFE: DEFENDANTS:

MICHELLE TENZER-FUCHS SNOW TEETH WHITENING, LLC

7181 EAST CAMELBACK RD., UNIT 504
SCOTTSDALE, AZ 85251

 

The declarant, being duly swom, states: | am fully qualified under Rule 4(d) Ariz.R.Civ.P. to serve process in this action, having been so
appointed by the court; [ received and served the following documents in the manner described below:

DOCUMENT TYPE: SUMMONS; CIVIL COVER SHEET;CIVIL CASE MANAGEMENT PLAN; CLASS ACTION
COMLAINT (JURY TRIAL DEMANDED
PERSON(S) SERVED: ~~ SNOW TEETH WHITENING, LLC (Defendant)
_ PLACE OF SERVICE: ____ USUAL PLACE OF BUSINESS

7181 EAST CAMELBACK RD.
SCOTTSDALE, AZ 85251
By delivering 1 SET(S) true copies to: DAVE HECKER, FRONT DESK OPERATOR, TOWER 1

THE ABOVE MENTIONED INDIVIDUAL WAS SERVED PERSONALLY AT THE ABOVE ADDRESS.
SEX: M; AGE/DOB: 65-75+-; RACE: WHT;

Notes: DAVE HECKER, FRONT DESK SECURITY, REFUSED TO ALLOW ME ACCESS TO THE DEFENDANT'S UNIT TO AATTEMPT
SERVICE. MR. HECKER VERIFIED THE DEFENDANT'S STATUTORY AGENT, JOSHUA ELIZETXE RESIDES AT THE ABOVE
ADDRESS IN UNIT 504, | SERVE MR. HECKER FOR JOSHUA ELIZETXE.

FILE #: , 205319

REF #: 2020012641
DATE OF SERVICE: 9/15/2020

TIME OF SERVICE: 01:54 PM

Next Action: No Further Action

| declare under penalty of perjury that the foregoing is true and correct.

7) day of October, 2020
/ FEES: $75.00 Service Fee
K bem -. LL i.— $75.00 Total

 

 

 

= AEF IANT'S SIGNATURE

Tom Zollars TAYLOR ANN KISH
Process server licensed in Maricopa County #5104 ry Notary Public - Arizona

‘ . . 09: SS) Maricopa County
Subscribed and sworn to this date: 10/6/2020 11:02:14 AM q Es Commission # 556570

T AQ — TO - My Comm. Expires Dec 29, 2022
OR
T
NOTARY PUBLIC

SUPERIOR PROCESS SERVICES, INC.
7701 E. Indian School Suite E
Scottsdale, Arizona 85251
(480) 429-6886
